                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE



UNITED STATES OF AMERICA                         )
                                                 )       No. 2:07-CR-02
V.                                               )       District Judge Greer
                                                 )       Magistrate Judge Inman
GERALD DAVID ALLEN II                            )
MICHAEL C. WEBB                                  )
STEVE A. WATSON                                  )



                        REPORT AND RECOMMENDATION


       The defendants are charged in Count 2 of the indictment with a violation of 7 U.S.C.

§ 2156(a), a Class A misdemeanor. The defendant Allen is also charged with a felony in

Count 1. The defendant Webb has filed a motion to dismiss the indictment, i.e., Count 2,

on the basis of “prosecutorial vindictiveness.” (Doc. 42). The defendant Watson has been

allowed to join in that motion. Pursuant to the standing order of this Court and 28 U.S.C. §

636, those motions have been referred to the magistrate judge for a report and recommenda-

tion. A hearing was held on November 6, 2007.

       The thrust of defendants’ motion is that the United States Attorney is prosecuting

them only because they earlier refused to plead guilty to state misdemeanor charges which

concerned the same conduct, but which have far less serious punishment upon conviction

than the federal charges. The facts are undisputed.

       In 2005 and for some period of time prior thereto, the Federal Bureau of Investigation



Case 2:07-cr-00002-JRG       Document 51       Filed 11/08/07    Page 1 of 11     PageID #:
                                             40
had been investigating public corruption in Cocke County, Tennessee, part of which involved

cock fighting exhibitions. On June 11, 2005, FBI and other federal law enforcement agents,

as well as agents of the Tennessee Bureau of Investigation and the Tennessee Highway

Patrol, executed a federal search warrant for the premises known as the Del Rio Cock Fight

Pit in Cocke County, Tennessee. Knowing that the warrant would be executed when people

would be present at the pit, the United States Attorney and the state District Attorney General

for the Fourth Judicial District agreed that the Highway Patrol officers would issue state

misdemeanor citations to those people on the premises when the warrant was executed,

charging them with either being a participant in a cock fight in violation of Tenn. Code Ann.

§ 39-14-203(a)(1), or being a spectator at a cock fight in violation of Tenn. Code Ann. § 39-

14-203(a)(4), depending on the circumstances. Most of the state citations were issued for

violation of Tenn. Code Ann. § 39-14-203(a)(4), the spectator offense.1 The vast majority of

people who were given the state misdemeanor citations pleaded guilty by paying a modest fine of

$50.00. However, six individuals, including the defendants Webb and Watson, elected to contest

the charges. As a result, on November 8, 2005, the Cocke County Grand Jury indicted those six

people for the same state misdemeanor charge.

       On January 9, 2006, a federal Grand Jury indicted the six individuals under 7 U.S.C. §




       1
          Citations were not issued to those individuals who were allegedly involved in the
actual operation of the pit inasmuch as it was planned at the outset to bring federal charges
against those individuals under the federal gambling statute, 18 U.S.C. § 1955, a felony.

                                                 2


Case 2:07-cr-00002-JRG         Document 51        Filed 11/08/07      Page 2 of 11      PageID #:
                                                41
2156(a), a Class A misdemeanor.2 This decision was a pragmatic one, based on the fact that the

evidence necessary to prove the defendants’ guilt was the testimony of federal law enforcement

agents or informants working under the direction of those federal law enforcement agents.

Additionally, the United States Attorney’s Office had more resources than did the office of the state

District Attorney General, especially money; one of the essential witnesses was a retired FBI agent

now living in Montana.

       On January 22, 2007, Attorney Joseph Baker, who represented all six people, wrote a letter

to Assistant United States Attorney Neil Smith, stating that his clients intended to enter guilty pleas

to the state charge of being spectators at a cock fight. Attorney Baker further stated that it was his

understanding that those who entered a guilty plea to the state charge would not be federally

prosecuted.3

       On February 12, 2007, four of the six people indeed did enter guilty pleas to the state

charges. Mr. Watson, however, did not appear at the appointed time and for that reason did not enter

a guilty plea. Mr. Webb did appear before the state court, but he changed his mind and declined to

plead guilty. According to their attorneys, it was the intent of both men to demand trial by jury at

the urging of the state judge. With respect to the four individuals who did enter pleas of guilty, the

presiding state judge, over the stout objections of the District Attorney General, placed those

defendants on judicial diversion.4


       2
       Gerald Allen was also indicted for operating an illegal gambling business in violation of
18 U.S.C. § 1955. (Count 1).
       3
        Ex. 1 to Government’s Response, Doc. 44.
       4
        Judicial Diversion is essentially a sentence of probation, after completion of which the
conviction is expunged. Tenn.Code Ann. § 40-35-313.

                                                  3


Case 2:07-cr-00002-JRG           Document 51        Filed 11/08/07      Page 3 of 11       PageID #:
                                                  42
        Based upon their pleas of guilty before the state court, on July 10, 2007, the United States

moved to dismiss the federal charges against those four defendants, which this court granted.5

        On August 2, 2007, Watson and Webb appeared before this court for their initial appearance

on the federal indictment. Shortly thereafter, Webb’s attorney, Mr. Poole, asked AUSA Smith if the

federal charges would be dismissed if Webb and Watson pled guilty to the pending state

misdemeanor charges. On September 20, 2007, AUSA Smith agreed that the United States would

dismiss the federal charge if Webb and Watson plead guilty to the state misdemeanor

charges, with one critical caveat: the defendants could not seek or accept diversion,

otherwise the federal charges would not be dropped.6

        On September 21, 2007, attorney Poole wrote AUSA Smith that there was no reason that his

client should affirmatively reject judicial diversion in state court in light of the fact that the other

four individuals (including his wife and son) received diversion. Since Mr. Webb did not intend to

reject judicial diversion, attorney Poole advised AUSA Smith that he could not recommend to Mr.

Webb that he enter a plea of guilty to the state charges since the United States indicated that it

would pursue federal prosecution if the state judge granted judicial diversion and Mr. Webb

accepted it.7

        On September 24, 2007, AUSA Smith responded to attorney Poole by pointing out the

following:

        (1) On February 12, 2007, Webb had the opportunity to plead guilty before the state judge,

        5
         Docs. 9 and 10.
        6
         Ex. H to Motion to Dismiss, Doc. 42.
        7
         Ex. I, Doc. 42.

                                                   4


Case 2:07-cr-00002-JRG           Document 51        Filed 11/08/07       Page 4 of 11       PageID #:
                                                  43
and receive judicial diversion as did the four co-defendants, but he eschewed the opportunity;

       (2) In the months following, the United States expended additional resources, and obtained

additional evidence regarding Webb’s involvement in the cock fighting activity;

       (3) That if there was any unfairness involved, in reality it was the state judge’s decision to

place the four individuals on judicial diversion when many other defendants previously had paid

their fines and thus were denied the opportunity to receive diversion.

       AUSA Smith ended his letter to attorney Poole by allowing Mr. Webb through September

27, 2007, to plead guilty to the state charges on the condition that he not seek nor accept judicial

diversion. AUSA Smith also advised attorney Poole that, if Mr. Webb disdained that offer, he would

request the District Attorney General to dismiss the pending state charge so that entering a plea in

that jurisdiction would no longer be an option and the “dual prosecution” policy of the United

States Department of Justice would no longer be a factor to consider.8

       Mr. Webb (and of course, Mr. Watson) declined to enter pleas of guilty to the state charges

under the conditions imposed by AUSA Smith. As a result, AUSA Smith followed through on his

promise to request the District Attorney General to dismiss the state charges. The state District

Attorney General did so, without notice to Mr. Webb or his counsel, leaving the defendants Webb

and Watson with no charge to which they could plead guilty except the pending federal charge.

       Mr. Webb’s counsel verbally represented that he had been assured by the state judge that he



       8
         Ex. J, Doc. 42. This internal policy of the Department of Justice has nothing to do with
either double jeopardy or “dual sovereignty.” Rather, if both the state and federal governments
are prosecuting a defendant for the same transaction, and if the state obtains a conviction on its
charges before the federal government obtains a conviction on its charges, the dual prosecution
policy requires the United States Attorney to seek permission of the Department of Justice before
proceeding further.

                                                 5


Case 2:07-cr-00002-JRG          Document 51       Filed 11/08/07       Page 5 of 11      PageID #:
                                                44
is willing to set aside the order of dismissal and allow Webb (and, presumably, Mr. Watson) to plead

guilty to the original state misdemeanor charges. Implicit therein is the probability that the state

judge will grant diversion to these defendants.

       Mr. Webb complains that AUSA Smith’s action in refusing to dismiss this federal

prosecution and allow him to plead guilty to the state charge is vindictive and warrants the dismissal

of the indictment. Defendants argue that the charge they faced in state court was a Class C

misdemeanor under Tennessee law; the maximum punishment they faced was 30 days in jail and

a $50.00 fine. Now they confront a maximum sentence of one year of incarceration and a

$15,000.00 fine. They also argue that the United States’ continued prosecution of this case is

vindictive and in retaliation for the exercise of their right to a jury trial in state court. Lastly,

Webb suggests that the United States’ refusal to allow him to accept judicial diversion, which

his wife and son received, is so unfair as to constitute vindictiveness. Defendants’ attorneys

candidly acknowledged that they could find no cases to support their position.

       Claims of vindictive prosecution usually arise in a post-trial setting. See, e.g., North

Carolina v. Pearce, 395 U.S. 711 (1969), in which the Supreme Court held that it was a violation

of due process to impose a greater sentence upon a defendant after his conviction upon a retrial

subsequent to a reversal of his first conviction. The principle underlying Pearce and similar cases

is that “[punishing] a person because he has done what the law plainly allows him to do is a due

process violation . . . .” United States v. Goodwin, 457 U.S. 368 (1982).

       Messrs. Webb and Watson argue that the United States is punishing them for doing what

they had a right to do: plead not guilty to the state charges and proceed to trial, with or without a

jury. But there is a critical difference between the facts before this court and those in Pearce, supra,

                                                   6


Case 2:07-cr-00002-JRG           Document 51        Filed 11/08/07       Page 6 of 11       PageID #:
                                                  45
and similar cases. Here, the conditions imposed by the United States arose in a pretrial context and

as part of plea negotiations, albeit unusual plea negotiations.     Rather than demanding that the

defendants plead guilty to the charges in this court, the United States demanded that the

defendants plead guilty to charges pending in a state court. Moreover, the United States imposed

conditions upon that guilty plea - that they neither seek nor accept judicial diversion. But the fact

remains that these were plea negotiations, because the quid pro quo for the defendants’ guilty pleas

in state court was the dismissal of the federal prosecution. The defendants always had the choice

of accepting the demand of the United States Attorney’s Office or going to trial on the federal

charges.

       It is beyond argument that if the defendants committed the acts with which they are charged,

they violated 7 U.S.C. § 2156. It also is undeniable that there is no constitutional impediment to the

prosecution of these defendants in federal court, notwithstanding they had also been charged with

analogous state offenses. See, United States v. Lanza, 260 U.S. 377 (1922). Thus, this case was

and is the same as any other criminal case before this court. To state the obvious, plea negotiations

in a criminal case are an option, not a requirement, and if either party does not wish to engage in

negotiations they cannot be compelled to do so.

       Offers made by the prosecution during pretrial plea negotiations are starkly different from

post-trial prosecutorial decisions as far as claims of vindictive prosecution are concerned. There are

several cases closely on point to the case before this court.

       In Bordenkircher v. Hayes, 434 U.S. 357 (1978), a case which arose in the Sixth Circuit, the

defendant was indicted for uttering a forged instrument, an offense for which the punishment was

a term of imprisonment of two to ten years. During plea negotiations, the state prosecutor offered

                                                  7


Case 2:07-cr-00002-JRG          Document 51        Filed 11/08/07       Page 7 of 11      PageID #:
                                                 46
to recommend a sentence of five years if the defendant pleaded guilty to the indictment. That offer

was accompanied by an unequivocal threat: the prosecutor told the defendant that if he did not

plead guilty, he would return to the Grand Jury and seek to have defendant indicted as a habitual

criminal. The defendant declined the prosecutor’s offer, and he subsequently was indicted under

the state Habitual Criminal Act. Upon conviction, he was sentenced to life in prison. The defendant

ultimately filed a petition for a federal writ of habeas corpus, which the district court denied. The

Sixth Circuit Court of Appeals reversed, holding that the defendant could not be imprisoned any

longer than he could have been if convicted on the charge in the original indictment. The Supreme

Court reversed, noting that the Court of Appeals seemed to have held “that a prosecutor acts

vindictively and in violation of due process of law whenever his charging decision is influenced by

what he hopes to gain in the course of plea bargaining negotiations.” 434 U.S. at 361. After

discussing its prior holding in Pearce that punish-ing a person for doing what the law allows him

to do is a clear violation of due process, the court pointed out that “in the ‘give-and-take’ of plea

bargaining, there is no such element of punishment or retaliation so long as the accused is free to

accept or reject the prosecution’s offer.” Id., 363.

               In our system, so long as the prosecutor has probable cause to believe
               that the accused committed an offense defined by statute, the decision
               whether or not to prosecute, and what charge to file or bring before
               a Grand Jury, generally rests entirely within his discretion. Within
               the limits set by the Legislature’s constitutionally valid definition of
               chargeable offenses, “the conscious exercise of some selectivity in
               enforcement is not in itself a federal constitutional violation” so long
               as “the selection was [not] deliberately based upon an unjustifiable
               standard such as race, religion, or other arbitrary classification.”

Id. , 364 (internal footnotes omitted).

       In United States v. Forrest, 402 F.3d 678 (6th Cir. 2005), the defendant and two

                                                  8


Case 2:07-cr-00002-JRG          Document 51        Filed 11/08/07       Page 8 of 11      PageID #:
                                                 47
companions robbed a convenience store, brandishing firearms as they did so. The defendant Forrest

thereafter was indicted by a Kentucky Grand Jury for first degree robbery. He pleaded not guilty

to that indictment. Subsequently, he was indicted by a federal Grand Jury for a Hobbs Act robbery,

and with brandishing firearms during a crime of violence. It was undisputed that the federal

indictment was the result of the defendant’s refusal to plead guilty to the prior state indictment.

402 F.3d at 683.

       After he was convicted on the federal charges, the defendant essentially requested a

downward departure under the Sentencing Guidelines because his case was “atypical;” the

atypicality of course was the fact that the federal prosecution was initiated in retaliation for his

refusal to plead guilty to the state indictment. In holding that the case was not atypical for

sentencing purposes, the Sixth Circuit stated:

               The district court was concerned in this case about “the suggestion of
               punitive federal prosecution.” We fully understand the basis for the
               court’s concern. Again, however, the motivation of the prosecutor
               has no bearing, as far as we can see, on the typicality of the defen-
               dant’s misconduct. For what it may be worth, moreover, we note that
               just as a “decision to prosecute [the defendant] under a statute with
               a ‘severe’ penalty is not cause for a downward departure,” see,
               United States v. Reed, 264 F.3d 640, 650 (6th Cir. 2001), a federal
               indictment obtained against one who has been threatened with
               federal prosecution for refusing to plead guilty to state charges
               is not subject to dismissal on grounds of “vindictive prosecution.”
               See, United States v. Williams, 47 F.3d 658, 661 (4th Cir. 1995)
               (citing Bordenkircher v. Hayes, 434 U.S. 357, 358-59, 365, 98 S.Ct.
               663, 54 L.Ed.2d, 604 (1978) (no prosecutorial vindictiveness in
               charging the defendant under a recidivist statute carrying a manda-
               tory life term after the defendant has refused to plead guilty to
               original charges that carried a sentence of two to 10 years)).

Id. 691. (Bold-face type added).

       The court’s footnote to the above quote also is relevant:


                                                 9


Case 2:07-cr-00002-JRG          Document 51        Filed 11/08/07     Page 9 of 11      PageID #:
                                                 48
               4
                It is worth noting also that under the Supreme Court’s long-standing
               “dual sovereignty” doctrine . . ., the Double Jeopardy Clause of the
               US Constitution would not have barred prosecutions of [defendant]
               by both the federal government and the state government for his
               conduct at the convenience store. It follows, in our view, that the
               district court’s assessment of this conduct at sentencing should not
               depend on the charging decisions made by the two sovereigns.

Id. (Internal citation omitted).

       In summation, the United States Government was free to prosecute these defendants in

district court for violations of federal law, regardless that they also were being prosecuted

in state court for the same actions. The offer of the United States Attorney to these movant-

defendants that the federal charge against them would be dismissed if they pleaded guilty to

the state charge, on the condition that they not accept judicial diversion, was nothing more

than an offer made in the course of plea bargaining which the defendants could accept or

reject as they deemed prudent. Obviously, they rejected the United States’ offer, as a result

of which this prosecution is proceeding. Under Bordenkircher, supra, the condition imposed

by the United States for dismissal of this action was not a denial of the defendants’ due

process rights.

       It is respectfully recommended that the motions to dismiss be denied.9


       Respectfully submitted,




       9
         Any objections to this report and recommendation must be filed within ten (10) days of
its service or further appeal will be waived. 28 U.S.C. § 636(b)(1)(B) and (C). United States v.
Walters, 638 F.2d 947-950 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).

                                               10


Case 2:07-cr-00002-JRG         Document 51       Filed 11/08/07      Page 10 of 11     PageID #:
                                                49
                                                     s/ Dennis H. Inman
                                                 United States Magistrate Judge




                                       11


Case 2:07-cr-00002-JRG   Document 51    Filed 11/08/07   Page 11 of 11     PageID #:
                                       50
